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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
                            Civil Division
GREAT SOCIALIST PEOPLE’S                               )
LIBYAN ARAB JAMAHIRIYA, et al.                         )
                                                       )
               Plaintiffs/Counter-Defendants,          )
                                                       )
vs.                                                    )       Case Number: 06-CV-2046 (RBW)
                                                       )
AHMAD MISKI                                            )
                                                       )
               Defendant/Counter-Plaintiff.            )
                 AMBASSADOR AUJALI’S MOTION TO QUASH
                 DEFENDANT MISKI’S NOTICE OF DEPOSITION
                                 Oral Hearing Requested
Ali Suleiman Aujali, the Great Socialist People’s Libyan Arab Jamahiriya’s Ambassador to
the United States of America, and Plaintiff Great Socialist People’s Libyan Arab Jamahiriya
and Plaintiff Embassy of the Libyan Arab Jamahiriya [collectively hereinafter “ Plaintiff
Libyan Government” ], by and through their attorneys, J.P. Szymkowicz, John T.
Szymkowicz and the Law Firm of Szymkowicz & Szymkowicz, LLP, respectfully requests
that this Honorable Court quash Defendant Miski’s notice of deposition pursuant to the
Vienna Convention on Diplomatic Relations of April 18, 1961 and award them their costs
incurred in prosecuting this motion, and in support thereof, states:
                                   General Background

1.     The official name of what is commonly known as “ Libya,” is the Great Socialist
People’s Libyan Arab Jamahiriya.
2.     Ali Suleiman Aujali is the Great Socialist People’s Libyan Arab Jamahiriya’s
Ambassador to the United States of America and is stationed at the Libyan Embassy in
Washington, DC.
3.     Defendant Miski has served a Notice of Deposition on Plaintiff Libyan Government
seeking to take the deposition testimony of Ambassador Aujali on March 13, 2009.
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                         Background on the Vienna Convention
4.      The Vienna Convention on Diplomatic Relations of April 18, 1961 [hereinafter “ the
Vienna Convention” ] provides Ambassador Aujali with immunity from providing testimony
or    producing     documents       or    other       tangible   items   in   court.   See
http://untreaty.un.org/ilc/texts/instruments/english/
conventions/9_1_1961.pdf (accessed on March 11, 2009).
5.      The Libyan Government ratified the Vienna Convention on June 7, 1977. See
http://treaties.un.org/Pages/ViewDetails.aspx?src=TREATY&id=188&chapter=3&lang=en
(accessed on March 11, 2009).
6.      The United States of America ratified the Vienna Convention on November 13,
1972. Id.
                                          Argument
I.   AMBASSADOR AUJALI’S MOTION TO QUASH DEFENDANT MISKI’S
NOTICE OF DEPOSITION MUST BE GRANTED PURSUANT TO THE
VIENNA CONVENTION.
        Ambassador Aujali’s Motion to Quash Defendant Miski’s notice of deposition
must be granted pursuant to the Vienna Convention on Diplomatic Relations of April 18,
1961. Ambassador Aujali is the “ Head of the Mission” as defined in Article 1. His
“ person” “ shall be inviolable” and “ not be liable to any form of arrest or detention”

pursuant to Article 29. He “ is not obliged to give evidence as a witness” pursuant to
Article 31. In addition, Ambassador Aujali enjoys immunity from all civil matters pursuant
to Article 31. Ambassador Aujali’s “ papers,” “ correspondence” and “ property” are
inviolable pursuant to Article 30. Thus, Ambassador Aujali’s Motion to Quash Defendant
Miski’s notice of deposition must be granted pursuant to the Vienna Convention.
        A.      The purposes of extending diplomatic immunity to
        ambassadors, such as Ambassador Aujali, are to “contribute to the
        development of friendly relations among nations” and “to ensure the
        efficient performance of the functions of diplomatic missions.”

        The purposes of extending diplomatic immunity to ambassadors, such as
Ambassador Aujali, are to “ contribute to the development of friendly relations among

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nations” and “ to ensure the efficient performance of the functions of diplomatic
missions.” Hellenic Lines, Limited v. Moore, 345 F.2d 978 (D.C. Cir. 1965) citing the
Vienna Convention on Diplomatic Relations of April 18, 1961. In Hellenic Lines, the court
was faced with a U.S. Marshal who refused to serve the Tunisian Ambassador to the United
States with a summons in an admiralty case. Id. at 979. Prior to deciding whether the
Tunisian Ambassador had immunity for service of process, the court sought the opinion of
the U.S. State Department, which informed the court that “ service would prejudice the
United States foreign relations and would probably impair the performance of diplomatic
functions.” Id. In responding to the court’s inquiry, the State Department said
       It is quite probable that such impairment would be caused; the degree of it
       would depend on the circumstances. An ambassador and his government
       would in all likelihood consider that he had been hampered in the
       performance of his duties if, for example, (a) the ambassador felt obliged to
       restrict his movements to avoid finding himself in the presence of a process
       server; or (b) he were diverted from the performance of his foreign relations
       functions by the need to devote time and attention to ascertaining the legal
       consequences, if any, of service of process having been made, and to taking
       such action as might be required in the circumstances; or (c) the manner of
       service had been publicly embarrassing to him and called attention to the
       infringement of his personal inviolability. Id. at 981.
Moreover, the State Department said
       The maintenance of friendly foreign relations between the United States and
       the sending state concerned would certainly be prejudiced by service of
       process on an ambassador against his will. The sending state might well
       protest to the Department that the United States had failed to protect the
       person and dignity of its official representative, and might complain
       particularly that service was by an officer of the United States Government,
       namely, a United States Marshal. Other governments might interpret the
       incident as meaning that the Government of the United States had decided,
       as a matter of policy, to depart from what they had considered a universally
       accepted rule of international law and practice. Id.
In Hellenic Lines, the court found that
       Serious and far-reaching consequences would flow from a judicial finding
       that international law standards had been met if that determination flew in the
       face of a State Department proclamation to the contrary. When articulating
       principles of international law in its relations with other states, the Executive
       Branch speaks not only as an interpreter of generally accepted and
       traditional rules, as would the courts, but also as an advocate of standards it
       believes desirable for the community of nations and protective of national
       concerns. Id.


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Therefore, the Hellenic Lines court found that “ the purposes of diplomatic immunity forbid
service in this case” and thus, “ the Ambassador is not subject to service of process.” Id. at
980-81.
       B.     The Vienna Convention has a “broad interpretation of
       inviolability” and supports the notion that “United States and the
       United Nations recognize extensive immunity and independence for
       diplomats, consulates and missions abroad.”
       In 767 Third Avenue Associates v. Permanent Mission of the Republic of Zaire to
the United Nations, 988 F.2d 295, 303 (2nd Cir. 1993), the court reversed a district court
order that granted the landlord possession of the premises leased the Government of Zaire
and that ordered the U.S Marshal to forcibly seize the premises, if necessary. The court
found that the Vienna Convention has a “ broad interpretation of inviolability” and supports
the notion that “ United States and the United Nations recognize extensive immunity and
independence for diplomats, consulates and missions abroad.”         Id. at 298. The court
further found that history supports concept of inviolability expressed in the Vienna
Convention:
       Among the laws of nations is the notion that ambassadors must be received
       and that they must suffer no harm. Beginning 1000 years ago when
       merchants went to foreign lands seeking trade, they sought to have their
       disputes settled by judges of their choice administering their own national
       laws. In 1060, for example, Venice was granted the right to send magistrates
       to Constantinople to try Venetians charged in civil and criminal cases. A
       similar process occurred in the western part of the Mediterranean basin
       where special magistrates called ‘consul judges’ were appointed to settle
       disputes between foreign traders and local merchants. Because of the
       growth of international trade the use of consuls spread. By 1251 Genoa had
       a consul in Seville and in 1402 there were consuls of the Italian republics in
       London and the Netherlands. Before the end of the fifteenth century
       England had consuls in Italy and Scandinavia. In the 16th and 17th
       centuries individual states took over from traders the task of sending
       consuls, and the function of the consul was dramatically altered. Judicial
       duties were eliminated and replaced by the diplomatic functions of looking
       after the state's interests in trade, industry and shipping. As official state
       representatives, consuls enjoyed corresponding privileges and immunities.
       By the 18th century all the major trading states had exchanged consuls. The
       United States set up its first consulate in France in 1780. Because of the
       extraordinary growth of consulates during the 19th century, attempts to
       codify the rules of international law on that subject began in the 20th
       century. A forerunner of these attempts was the Congress of Vienna in
       1815. In 1927 the Inter-American Commission of Jurists prepared a draft
       of 26 articles on consuls, which served as the basis for the Convention

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       regarding Consular Agents signed at Havana, Cuba on February 28, 1928.
       In 1932 Harvard Law School prepared drafts of conventions for the
       codification of international law on diplomatic privileges and immunities.
       The International Law Commission added the subject ‘consular intercourse
       and immunities’ to those selected for codification at the first session of the
       United Nations Secretariat in 1949, which the General Assembly approved,
       and began by the usual appointment of a Special Rapporteur on this
       question. The study continued from 1956 to 1959 and his commentary
       provided the foundation work leading to the 1961 Vienna Convention at
       which 81 nations participated. Id. at 299-300 (citations omitted).
The 767 Third Avenue Associates court further noted that:
       Although diplomatic privilege and mission inviolability arose under various
       now-outdated theories, including Grotius' notion of the ‘sacredness of
       Ambassadors’ and the conception of the diplomat as personifying the
       foreign state's sovereign, modern international law has adopted diplomatic
       immunity under a theory of functional necessity. Under that doctrine, the
       United States recognizes the privileges of foreign diplomats in the U.S. with
       the understanding that American diplomats abroad will be afforded the same
       protections from intrusions by the host state. The most secure way to
       guarantee this protection, the United States tells us, is through blanket
       immunities and privileges without exception. The risk in creating an
       exception to mission inviolability in this country is of course that American
       missions abroad would be exposed to incursions that are legal under a
       foreign state's law. Foreign law might be vastly different from our own, and
       might provide few, if any, substantive or procedural protections for American
       diplomatic personnel. Were the United States to adopt exceptions to the
       inviolability of foreign missions here, it would be stripped of its most
       powerful defense, that is, that international law precludes the nonconsensual
       entry of its missions abroad. Another related consideration is the frequent
       existence of a small band of American nationals residing in foreign
       countries, often business personnel. Recent history is unfortunately replete
       with examples demonstrating how fragile is the security for American
       diplomats and personnel in foreign countries; their safety is a matter of real
       and continuing concern. Potential exposure of American diplomats to harm
       while serving abroad and to American nationals living abroad is not ‘pure
       conjecture,’ as plaintiffs blithely assert. Id. at 300-01 (citations omitted).
       Additionally, the 767 Third Avenue Associates court observed
       The United States has consistently respected the complete inviolability of
       missions and consulates. Even in extreme cases U.S. authorities will not
       enter protected premises without permission following, for example, bomb
       threats. Nor have local authorities been permitted to enter to conduct health
       and building safety inspections without the consent of the mission involved.
       An affidavit from the counselor for Host Country Affairs for the United
       States Mission to the United Nations attests that after the Soviet mission to
       the U.N. was bombed in 1979, the FBI and local police officers were all
       refused entry to the mission until the Soviets consented to allow certain law
       enforcement officers to enter. Absent such consent, the United States tells
       us, government officials would not have attempted to enter the Soviet
       mission's premises. Id. at 301 (citations omitted).




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    Finally, the 767 Third Avenue Associates court responded to claims that diplomatic
immunity is abused in rare cases by stating that “ [n]otwithstanding popular and ill-
informed views to the contrary, the inviolability of premises is not lost by the perpetration
from them of unlawful acts.       Reforming the Vienna Convention may well be a valid
objective. But federal courts are an inappropriate forum to accomplish the amendment of a
multilateral treaty to which the United States is a party.” Id. at 302.

        C.    Personal inviolability is of all the privileges and immunities
        of missions and diplomats the oldest established and the most
        universally recognized.

        In Tachiona v. Mugabe, 386 F. 3d 205, 221 (2nd Cir. 2004), the court found that the
principle of diplomatic immunity required the dismissal of a civil case brought against the
President and Foreign Minister of Zimbabwe. In Mugabe, the court found that “ [p]ersonal
inviolability is of all the privileges and immunities of missions and diplomats the oldest
established and the most universally recognized. It is essential to ensure inviolability of the
person of the ambassador in order to allow him to perform his functions without hindrance
from the government of the receiving state, its officials and even private persons." Id. at
223.
        D.    Even diplomats transiting through a third country from their
        home country en route to a country where they will serve as a
        diplomat have immunity.

        In Bergman v. Desieyes, 71 F. Supp 334, 334-35 (S.D. N.Y. 1946), the defendant
was the French minister to Bolivia, who was served with a summons and complaint in a civil
matter in the Southern District of New York while he was “ temporarily present in the City
en route from France to his post in Bolivia and while he was awaiting transportation to his
post.” Thus, the question in Desieves was whether a diplomatic minister en route to his
post in the country to which he is accredited is immune from service of civil process in a
third country through which he is passing on the way to his post.”           Id. at 334. The

Desieves court found that “ an ambassador is exempt from the jurisdiction of the Courts of
the country in which he resides as ambassador.” Id. at 335. In addition, the court observed

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that “ If an envoy travels through the territory of a third state incognito or for his pleasure
only, there is no doubt that he cannot claim any special privileges whatever. He is in exactly
the same position as any other foreign individual there, although by courtesy he might be
treated with particular attention. But matters are different when an envoy, on his way from
his own state to the state of his destination, travels through the territory of a third state.
Now, as the institution of legation is necessary for the intercourse of States, and is firmly
established by International Law, there ought to be no doubt that such third State must grant
the right of innocent passage (jus transitus innoxii) to the envoy, provided that it is not at
war with the sending or the receiving state.”      Id. at 339. Thus, “ the privilege of an
ambassador extended to immunity against all civil suits sought to be instituted against him
in the courts of the country to which he was accredited, as well as in those in a
friendly country through which he was passing on his way to the scene of his diplomatic
labors, and to this privilege the learned court held that he was entitled, as representative of
his sovereign, and also because it was necessary for his free and unimpeded exercise of his
diplomatic duties.” Id. at 338.
       E.     Since Ambassador Aujali possesses complete and absolute
       diplomatic immunity from the jurisdiction of this Honorable Court,
       the Libyan Government’s motion to quash Defendant Miski’s notice
       of deposition must be granted.
       Since Ambassador Aujali is accredited by the U.S. State Department as the

Ambassador from Libya to the United States of America, he possesses complete and
absolute diplomatic immunity from the jurisdiction of this Honorable Court. Ambassador
Aujali is the “ Head of the Mission” of the Libyan Embassy as defined in Article 1 of the
Vienna Convention. His “ person” “ shall be inviolable” and “ not be liable to any form of
arrest or detention” pursuant to Article 29 of the Vienna Convention. He “ is not obliged to
give evidence as a witness” pursuant to Article 31 of the Vienna Convention. In addition,
Ambassador Aujali enjoys immunity from all civil matters pursuant to Article 31 of the

Vienna Convention. Ambassador Aujali’s “ papers,” “ correspondence” and “ property”
are inviolable pursuant to Article 30 of the Vienna Convention.

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Since this Honorable Court has no jurisdiction over Ambassador Aujali, Defendant Miski’s
notice of deposition served upon the Libyan Government with regard to Ambassador Aujali
must be quashed.
                                             Respectfully submitted,
                                             /x/__________________________________
                                             J.P. Szymkowicz (#462146)
                                             John T. Szymkowicz (#946079)
                                             SZYMKOWICZ & SZYMKOWICZ, LLP
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                                             (202) 862-8500 (voice)
                                             (202) 862-9825 (fax)
                                             Attorney for Ambassador Ali Aujali, Great
                                             Socialist People’s Libyan Arab Jamahiriya
                                             and Embassy of the Libyan Arab Jamahiriya
                             Local Rule 7 (m) Certification
       I hereby certify that in accord with the Local Rule 7 (m), on February 3, 2009, I
personally met with Defendant Miski’s counsel, Kamal Nawash, Esquire, after the Court’s
Scheduling Conference. The purpose of this meeting was to discuss whether Defendant
Miski would refrain from following through on his informal request to take Ambassador
Aujali’s deposition. The parties agreed to disagree and that Defendant Miski would serve a
notice of deposition on the Libyan Government with regard to Ambassador Aujali’s
presence at this deposition and then the Libyan Government would file a motion to quash.

Thus, the parties have not been able to resolve the issue presented in this motion despite
good faith efforts on both sides.
                                              /s/_________________________________
                                              J.P. Szymkowicz (#462146)
                                    Oral Hearing Request
       Ambassador Ali Suleiman Aujali, Plaintiff Great Socialist People’s Libyan Arab
Jamahiriya and Plaintiff Embassy of the Libyan Arab Jamahiriya respectfully requests that
an oral hearing on the instant motion be scheduled pursuant to Local Civil Rule 7 (f).

                                              /s/_________________________________
                                              J.P. Szymkowicz (#462146)

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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
                            Civil Division
GREAT SOCIALIST PEOPLE’S                          )
LIBYAN ARAB JAMAHIRIYA, et al.                    )
                                                  )
                            Plaintiffs,           )
                                                  )
vs.                                               )      Case Number: 06-CV-2046 (RBW)
                                                  )
AHMAD MISKI                                       )
                                                  )
                            Defendant.            )
      ORDER GRANTING AMBASSADOR AUJALI’S MOTION TO QUASH
             DEFENDANT MISKI’S NOTICE OF DEPOSITION
       Upon consideration of Ambassador Ali Suleiman Aujali, Plaintiff Great Socialist
People’s Libyan Arab Jamahiriya and Plaintiff Embassy of the Libyan Arab Jamahiriya’s
motion to quash Defendant Miski’s notice of deposition of Ambassador Aujali, and any
response thereto, IT IS HEREBY ORDERED THAT the motion to quash is GRANTED.

_______________________                           ___________________________
Date                                              Reggie B. Walton
                                                  United States District Judge
cc:
J.P. Szymkowicz (#462146)                         Kamal M. Nawash (#458755)
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Embassy of the Libyan Arab Jamahiriya




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